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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                   AUSTIN DIVISION



HOMELAND INSURANCE COMPANY OF
NEW YORK,                                                  CIVIL ACTION NO.: 1-20-cv-783

        Plaintiff,

v.

CLINICAL PATHOLOGY
LABORATORIES, INC., SONIC
HEALTHCARE USA, INC., MEDLAB
PATHOLOGY, SONIC HEALTHCARE
(IRELAND) LIMITED, AND SONIC
HEALTHCARE LIMITED.

        Defendants.


                                NOTICE OF APPEARANCE

        Notice is hereby given that Ernest Martin, Jr., State Bar Number 13063300 of Haynes and

Boone, LLP, 2323 Victory Avenue, Suite 700, Dallas, Texas 75219 (214) 651-5641, enters his

appearance in this matter as Counsel for Defendants in the above-styled and numbered cause.

Counsel hereby respectfully requests notice and copies of all communications and other documents

filed in this matter.

                                        *      *      *




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Dated: September 24, 2020.


                                    Respectfully submitted,



                                    By: Ernest Martin, Jr.
                                        Ernest Martin, Jr.
                                        Bar No. 13063300
                                        HAYNES AND BOONE, LLP
                                        2323 Victory Avenue, Suite 700
                                        Dallas, TX 75219
                                        214-651-5651 Direct
                                        214-651-5000 Main
                                        214-200-0519 Fax
                                        ernest.martin@haynesboone.com

                                           -and-

                                        Mark T. Beaman
                                        Bar No. 01955700
                                        Ryan Bueche
                                        Bar No. 24064970
                                        GERMER BEAMAN & BROWN PLLC
                                        One Barton Skyway
                                        1501 S Mopac Expy Suite A400
                                        Austin, TX 78746
                                        512-482-3504 Direct
                                        512-472-0288 Main
                                        512-472-0721 Fax
                                        mbeaman@germer-austin.com

                                        ATTORNEYS FOR DEFENDANTS




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                               CERTIFICATE OF SERVICE

        This is to certify that on September 24, 2020, a true and correct copy of the above and
foregoing document was electronically served upon the following counsel of record as authorized
by the Federal Rules of Civil Procedure:

       Joseph R. Little
       The Little Law Firm, P.C.
       440 Louisiana Street, Suite 900
       Houston, Texas 77002
       Telephone: (713) 222-1368
       Fax: (281) 200-0115
       jrl@littlelawtexas.com

       John T. Brooks
       Jenna A. Fasone
       Sheppard, Mullin, Richter & Hampton, LLP
       501 West Broadway, 19th Floor
       San Diego, CA 92101
       Telephone: (619) 338-6500
       Fax: (619) 234-3815
       jbrooks@sheppardmullin.com
       jfasone@sheppardmullin.com

       Attorneys for Plaintiff
       Homeland Insurance Company of New York



                                           /s/ Ernest Martin, Jr.
                                           Ernest Martin, Jr.




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